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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                              CRIMINAL NO. 20-055

 VERSUS                                                SECTION “I”
                                                       JUDGE LANCE M. AFRICK
 JASON R. WILLIAMS
 NICOLE E. BURDETT                                     MAGISTRATE (4)
                                                       MAGISTRATE JUDGE ROBY

 UNITED STATES OF AMERICA                              CRIMINAL NO. 20-139

 VERSUS                                                SECTION “I”
                                                       JUDGE LANCE M. AFRICK
 NICOLE E. BURDETT
                                                       MAGISTRATE (3)
                                                       MAGISTRATE JUDGE DOUGLAS

                              PROPOSED TRIAL WITNESS LIST

        Defendant, Nicole Burdett, in accordance with the April 27, 2022 Scheduling Order (R. Doc

301), submits the following proposed may call witness list. Defendant reserves the right to modify and/or

amend this proposed may call witness list, including adding witnesses.


                             1.     Harold Asher
                             2.     Darrin Coleman
                             3.     Becky Timothy
                             4.     Representative of Boomtown Casino
                             5.     Representative of Treasure Chest Casino
                             6.     Representative of JP Morgan Chase
                             7.     Any witness listed or called by the
                                    Government.




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       Defendant reserves the right to call any additional witnesses necessary to rebut any element

of the Government’s case that may arise. Respondent reserves the right to amend and/or modify

this list, including adding witnesses.


                                             Respectfully submitted,

                                             /s/ Michael W. Magner
                                             Michael W. Magner (01206)
                                             Avery B. Pardee (31280)
                                             JONES WALKER LLP
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                                             New Orleans, LA 70170-5100
                                             (504) 582-8358
                                             mmagner@joneswalker.com
                                             apardee@joneswalker.com
                                             Counsel for Defendant, Nicole E. Burdett


                                 CERTIFICATE OF SERVICE

       I certify that on July 11, 2022, I electronically filed the foregoing pleading with the Clerk
of Court using the CM/ECF System, which will send a copy of the pleading to all parties via email.


                                             /s/ Michael W. Magner




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